Case 5:06-cr-00039-GEC   Document 80   Filed 02/08/07   Page 1 of 7   Pageid#: 138
Case 5:06-cr-00039-GEC   Document 80   Filed 02/08/07   Page 2 of 7   Pageid#: 139
Case 5:06-cr-00039-GEC   Document 80   Filed 02/08/07   Page 3 of 7   Pageid#: 140
Case 5:06-cr-00039-GEC   Document 80   Filed 02/08/07   Page 4 of 7   Pageid#: 141
Case 5:06-cr-00039-GEC   Document 80   Filed 02/08/07   Page 5 of 7   Pageid#: 142
Case 5:06-cr-00039-GEC   Document 80   Filed 02/08/07   Page 6 of 7   Pageid#: 143
Case 5:06-cr-00039-GEC   Document 80   Filed 02/08/07   Page 7 of 7   Pageid#: 144
